Case 2:14-cv-01953-DMG-RZ Document 1 Filed 03/14/14 Page 1 of 34 Page ID #:6




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                                                           OF REl'v10VAL OF ACTION
Case 2:14-cv-01953-DMG-RZ Document 1 Filed 03/14/14 Page 2 of 34 Page ID #:7



  1               2.   The Complaint in the State Court Action was filed with the Clerk of
  2   the Superior Court of the State of California, County of Los Angeles on
  3   February 14, 2014. Defendant Experian was served with the complaint on February
  4   14, 2014.
  5               3.   This Notice is being filed with this Court within thirty (30) days after
  6   Defendant Experian received a copy of Plaintiffs initial pleadings setting forth the
  7   claims for relief upon which Plaintiffs action is based.
  8               4.   Pursuant to 28 U.S.C. § 1446(a), attached hereto as Exhibit A is a true
  9   and correct copy of all substantive records and proceedings from the state court.
 10               5.   Pursuant to 28 U.S.C. § 1446(d), Experian shall file a copy of this
 11   Notice of Removal with the clerk ofthe State Court Action, and shall serve Plaintiff
 12   through her attorney of record in the State Court Action with this Notice promptly
 13   after its filing.
 14               6.   Experian is a corporation which, for monetary fees, regularly engages
 15   in whole or in part in the practice of assembling consumer credit information or
 16   other information on consumers for the purpose of furnishing consumer reports to
 17   third parties. Experian uses means or facilities of interstate commerce for the
 18   purpose of preparing or furnishing consumer reports, and therefore is a "consumer
 19   reporting agency" within the meaning of 15 U.S.C. § 1681a(t).
 20               7.   The claims of relief against Experian alleged in the State Court Action
 21   arise under the Fair Credit Reporting Act, 15 U.S.C. §§ 1681-1681u. Thus, this
 22   court has original subject matter jurisdiction over the above-captioned action
 23   pursuant to 28 U.S.C. § 1331 and 15 U.S.C. § 1681 p. The above-captioned action
 24   may properly be removed to this United States District Court pursuant to 28 U.S.C.
 25   § 1441(a)and(b).
 26               8.   Defendant Experian does not waive any defense to the Complaint,
 27   including but not limited to lack of service, improper service, or lack of personal
 28   jurisdiction.

      IRI-608 I 9v I                                              NOTICE OF REMOVAL OF ACTION
                                                  - 2-
Case 2:14-cv-01953-DMG-RZ Document 1 Filed 03/14/14 Page 3 of 34 Page ID #:8



  1            WHEREFORE, Experian notices the removal of this case to the United
  2   States District Court for the Central District of California pursuant to 28 U.S.C. §
  3   1441 et seq.
  4
  5   Dated: March 14,2014                       JONES DAY
  6
  7
  8
                                                 Attorneys for Defendant
  9                                              EXPERIAN INFORMATION
                                                 SOLUTIONS, INC.
 10
 11
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      IRI-60819vl                                             NOTICE OF REMOVAL OF ACTION
                                              - "' -
                                                .)
Case 2:14-cv-01953-DMG-RZ Document 1 Filed 03/14/14 Page 4 of 34 Page ID #:9




                       EXHIBIT A
         Case 2:14-cv-01953-DMG-RZ Document 1 Filed 03/14/14 Page 5 of 34 Page ID #:10

               ..
                                                                                            ~ :f.~/~/A                                                             -~S!;:::U.!!M!:.·1~Q~Q
                                                  SUMMONS
                                          (CITACION JUDICIAL)
                                                                                             ')-. ?v_,..        lr-'ljL----F-OR_c_o_uR-T-US_E_O-NL-Y

                                                                                                                               (SOLO PARA USO DE LA CORTE)


         NOTICE TO DEFENDANT:                                                                                                   CONFORMED COPY
         (AVISO AL DEMANDADO):                                                                                                         ORIGINAL FIJ.ED
                                                                                                                                       Suprrlor Cuur! (lr C~tli(Htoln
                                                                                                                                         ('(lurtty Of Lol AtlJtelt'l
          TRANS UNION LLC, EXPERIAN INFOR1\1ATION SOLUTIONS
          INC, "Additional Parties Attachment Form is attached.''                                                                       FEB 1 4 2014
         YOU AREBEING SUED BY PLAINTIFF:
         (LO ESTA DEMANDANDO EL DEMANDANT£):                                                                            Sherri A. Carter, Executive Otficer/C/erk
                                                                                                                                  By: Paul So, Deputy
                                                                                                                                                                                        I
         EDEN KRETCHET
                                                                                                                                                                                        j
          NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
          below.
            You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
         served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
         case. There may be a court form that you can use for your response You can find these court forms and more information at the California Courts
         Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
         the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
         may be taken without further warning from the court.
             There are other legal requirements You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
         referral serv1ce. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
         these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org}, the California Courts Online Self-Help Center
         (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutorjlien for waived fees and
         costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
        iAVISO! Lo han demandado. Sino responde dentro de 30 dias, Ia corte puede decidir en su contra sin escuchar su version Lea Ia informacion a
---t-confintiaci6n                                   - - - - ·- - -
            Tiene 30 OfAS DE CALENDAR/0 despues de que le entreguen esta citaci6n y papeles legales para presentar una respuesta per escrito en esta
        corte y hacer que se entregue una copia al demandante. Una carta o una i/amada telefonica no lo protegen. Su respuesta por escrito tiene que estar
        en forma to legal correcto side sea que procesen su caso en Ia corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
        Puede encontrar estos forrnularios de Ia corte y mas informacion en el Centro de Ayuda de las Cortes de California (www .sucorte .ca.gov), en Ia
        biblioteca de !eyes de su condado o en Ia corte que /e quede mas cerca. Sino puede pagar Ia cuota de presentacion, pida al secretario de Ia corte
        que le d& un formu/ario de exenci6n de pago de cuotas. Sino presenta su respuesta a tiempo, puede perder el caso por incumplimiento y Ia corte le
        podra quitar su sue/do, dinero y bienes sin mas advertencia.
           Hay otros requisltos legales. Es recomendable que /lame a un abogado inmediatamente. Sino conoce a un abogado, puede /lamar a un servicio de
        remisi6n a abogados. Sino puede pagar a un abogado, es posible que cumpla con los requisites para obtener servlcios legales gratuitos de un
       programa de servicios legales sin fines de Iuera. Puede encontrar estos grupos sin fines de Iuera en el sitio web de California Legal Services,
        (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniendose en contacto con /a corte o el
        colegio de abogados locales. AVISO: Por ley, Ia corte tiene derecho a reclamar las cuotas y los costas exentos por imponer un gravamen sobre
        cualquier recuperaci6n de $10,000 6 mas de valor recibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
       pagar el gravamen de Ia corte antes de que Ia corte pueda desechar el caso

        The name and address of the court is:                                                                    CASE NUMBER:
                                                                                                                  (Numero del Caso)'
        (EI nombre y direcci6n de Ia corte es) ·
        LOS ANGELES SUPERIOR COURT - CENTRAL DISTRICT                                                                 14K02478
                                                                                                                 ...__ _;,;;:....___=--='--'---'"'-------·
        lll NORTH HILL STREET, LOS ANGELES CA 90012
        The name, address, and telephone number of plaintiffs attorney, or plaintiff Without an attorney, is:
        (EI nombre, Ia direcci6n y el numero de telefono del abogado del demandante, o del demandante que no tiene abogado, es).
        EDEN KRETCHET- 11137 FREER STREET, TEMPLE CITY CA 91780-3606- (949) 600-0380

        DATE:
                                                           SHERR!R.CARTER
                                                                                       Clerk, by                      PAUL SO                                           , Deputy
        (Fecha)                                                                        (Secreta rio)                                                                     (Adjunto)
       (For proof of service of this summons, use Proof of Service of Summons (form POS-01 0).)
       (Para prueba de entrega de esta citation use el formulario Proof of Service of Summons, (POS-010)).
                                         NOTICE TO THE PERSON SERVED: You are served
        {SEAL!
                                         1.       0
                                                 as an individual defendant
                                         2.       0
                                                 as the person sued under the fictitious name of (specify).



                                              ,   ~'"'                      ''M    ~:--x:fl="ff,~N            tt/{o(ft?({tiStJv/iff, ;,/;
                                                  under:           CCP 416.10 {corporation)                        0         CCP 416.60 (mmor)
                                                                   CCP 416.20 (defunct corporation)                D         CCP 416.70 (conservatee)
                                                           0       CCP 416.40 (association or partnership)         D         CCP 416.90 (authorized person)
                                                           0     other (specify).
                                             4.0         by personal delivery on (date):

        ForM Adop!ed for Mandatory Use
          Judicial Council of Callfomia
                                                                               SUMMONS
          SUM·\00 (Rev July 1, 2009]

                                                                                                                                                Exh. A Page 4
   Case 2:14-cv-01953-DMG-RZ Document 1 Filed 03/14/14 Page 6 of 34 Page ID #:11



                                                                                                                               SUM-200(A)
                                                                                                 CASE NUMBER:
      SHORT TITLE:
 r- KRETCHET v. TRANS UNION LLC


                                                              INSTRUCTIONS FOR USE
    ... This form may be used as an attachment to any suiT] mons if space does not permit the listing of all parties on the summons .
    ... If this attachment is used, insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
        Attachment form is attached."

     List additional parties (Check only one box. Use a separate page for each type of party.):

       D       Plaintiff           [1]   Defendant    0   Cross-Complainant   D    Cross-Defendant

     EQUIFAX INFORMATION SERVICES LLC, CAPITAL ONE BANK (USA) N.A., BAI\TK. OF AMERICA
     CORPORATION, NATIONAL CREDIT ADJUSTERS LLC, CALIFORNIA BUSINESS BUREAU INC,
     LVNV FUNDING LLC, DOES 1 TO 10 INCLUSIVE.




                                                                                                                    Page           of
                                                                                                                                        Page 1 of 1
 Four: Adopted for Mandatory Use
   Judic1al Council of Califorma                     ADDITIONAL PARTIES ATTACHMENT
SUM-200(A) [Rev January 1. 20071                           Attachment to Summons


                                                                                                                    Exh. A Page 5
   Case 2:14-cv-01953-DMG-RZ Document 1 Filed 03/14/14 Page 7 of 34 Page ID #:12




     1   EDEN KRETCHET
         1113 7 Freer Street
     2
         Temple City, CA 91780
     3   (949) 600-0380
                                                                             FEB 1 4 Z0!4
     4
         Plaintiff in propria persona                                           p, Executlve Officer/Clerk
                                                                  Sherri R. Cart<>r
                                                                            8 .
                                                                              y. au1 So, Deputy
     5

     6

     7

                                  SUPERIOR COURT OF CALIFORNIA
     8

     9                   COUNTY OF LOS ANGELES -CENTRAL DISTRICT·

    10                              STANLEY MOSK COURTHOUSE
    11
         EDEN KRETCHET,                          )       CASE NUMBER
-----r·/-l----------------·---)------------------1--------·-

    13
                                Plaintiff,
                                      )                  COMPLAINT FOR:               14K02478
                                      )
    14   vs.                          )                  1. DAMAGES FOR VIOLATION
                                      )                  OF THE CONSUMER CREDIT
    15   TRANS {)1\JION LLC, EXPERIAN )                  REPORTING AGENCIES ACT
         INFORMATION SOLUTIONS INC,)                     [CC § 1785.1 et seq.]
    16
         EQUIF AX JNFORMATION         )
    17   SERVICES LLC, CAPlTAL ONE )                     2. PUNITIVE DAMAGES
         BANK (USA) N.A., BANK OF     )
    18   AMERICA CORPORATION,         )
         NATIONAL CREDIT ADJUSTERS)
    19
         LLC, CALIFORNIA BUSINESS     )
    20   BUREAU fNC, L VNV FUNDING )
         LLC, DOES 1 TO 10 INCLUSIVE. )
    21   _ _ _ _ _ _ _ _Defendants. )
    22
             (Exceeds $10,000.00 does not exceed $25,000.00- Action a Limited Civil Case)
    23
                Plaintiff allege:, as follows:
    24
                                     PRELIMINARY ALLEGATIONS
    25

    26           1.     Plaintiff; EDEN KRETCHET ("PLAINTIFF"), is an individual over the

    27   age of 18 years who re~ides at 11137 Freer Street, Temple City, California 91780.
    28
                                                     COMPLAINT




                                                                                                  Exh. A Page 6
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 1
              2.      Defendant, TRANS UNION LLC ("TUC"), is a State of Delaware
 2
      Limited Liability Company conducting business as a Consumer Credit Reporting Agency
 3
      as defined by Section 1785 .3(d) of the Civil Code of the State of California and is
 4

 5    authorized to conduct business in the State of California.

 6            3.      Defendant, EXPERIAN INFORMATION SOLUTIONS INC ("XPN"),
 7
      is a State of Ohio Corporation conducting business as a Consumer Credit Reporting
 8
       Agency as defined by Section 1785.3(d) of the Civil Code of the State of California and
 9
       is authorized to conduct business in the State of California.
10

11            4.      Defendant, EQUIF AX INFOR.t\1ATION SERVICES LLC ("EFX") is a

12    State of Georgia Limited Liability Company conducting business as a Consumer Credit
13
       Reporting Agency as defined by Section 1785.3(d) of the Civil Code ofthe State of
14
       California and is authorized to conduct business in the State of California.
15
              5.      Defendant, CAPITAL ONE BANK (USA) N.A. ("CAP ONE") is a
16

17     Federal National Bank and is authorized to conduct business in the State of California.

18            6.      Defendant, LVNV FUNDING LLC ("L VNV") is a Limited Liability
19
      Company of unknown jurisdiction and is not registered as a business entity with the
20
      California Secretary of State and as such, is not authorized to conduct business in the
21

22
      State of California.

23            7.      Defendant, NATIONAL CREDIT ADJUSTERS LLC ("NCA"), is a State

24
      of Kansas Limited Liability Company. NCA has had its registration status with the
25
      California Secretary of State forfeited and as such, is not authorized to conduct business
26
      in the State of California.
27

28
                                               COMPLAINT




                                                     2

                                                                                        Exh. A Page 7
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 1           8.      Defendant, CALIFORNIA BUSINESS BUREAU INC. ("CBB") is a
 2
      California Corporation authorized to conduct business in the State of California. CBB
 3
      is a collection agency.
 4

 5
             9.      Defendant, BANK OF AMERICA CORPORATION ("BAC"), is a State

 6    ofDelaware Corporation authorized to conduct business is the State of California.

 7
              10.    PLAINTIFF is ignorant of the true names and capacities of
 8
      Defendants ~:ued herein as Does 1 to 10 and therefore sue these Defendants by such
 9
      fictitious names. PLAiNTIFF will amend this Complaint to allege the true names
10

11
      and capacities when ascertained.

12            11.      PLAINTIFF is informed and believe and thereon alleges that at all
13
      times herein mentioned each of the Defendants were the agents, servants and
14
      employees of their codefendants and in doing the things hereinafter alleged were
15
      acting in the scope of their authority as such agents, servants and employees with the
16

17    permission and consent of their codefendants.

18            12.    This judicial district is the proper venue for this action because
19
      PLAINTIFF lives in this judicial district.
20
                                    FIRST CAUSE OF ACTION
21
                    Violation of Consumer Credit Reporting Act - Count One
22
               Aga1inst Defendants: CBB, CAP ONE, XPN, TUC, EFX, DOES 1 - 5
23
              13.    On or about July through September 2013, in writing, PLAINTIFF
24
      disputed to these Defendants, and each of them, that they were reporting the same
25

26    negative account information multiple times in violation of the Fair Credit Reporting Act.

27    Subsequently, these Defendants, and each of them failed and refused and do fail and
28
                                             COMPLAINT




                                                    3

                                                                                          Exh. A Page 8
Case 2:14-cv-01953-DMG-RZ Document 1 Filed 03/14/14 Page 10 of 34 Page ID #:15




 1
       refuse to correct said enoneous multiple reports of the same account.
 2
              14.    As a direct result of these Defendants conduct in maintaining and
 3
       reporting this inappropriate information to potential credit grantors and others,
 4

 5     PLAINTIFF has been, is and will continue to be denied licensing, credit or is being

 6     denied more favorable credit terms, all of which has been and is damaging in a
 7
       sum uncertain to PLAI;\JTIFF who asks leave of the court to amend this Complaint to
 8
       state said sum when the same becomes known to him.
 9
              15.    Because of Defendants' conduct as above alleged, PLAINTIFF is entitled
10

11     to punitive dan1ages pursuant to Section 1785.3l(B) of the Civil Code ofthe State of

12     California of not less than $100 nor more than $5,000 for each violation of the Act.
13
                                   SECOND CAUSE OF ACTION
14
                      Violation of Consumer Credit Reporting Act - Count Two
15            Agair:1st Defendants: BAC, NCA, LVNV, XPN, TUC, EFX, DOES 6- 10
16            16.     PLAINTIFF realleges all of the allegations contained in paragraphs 1
17
       through 12 above as though fully stated herein.
18
               17.    On or about July through September 2013, in writing, PLAINTIFF
19

20
       disputed to these Defendants, and each of them, that they were reporting certain

21     negative account information in which the delinquency ofthe account was being reported

22
       as having occurred much more recently than was actually the case in violation of the Fair
23
       Credit Reporting Act. Subsequently, these Defendants, and each of them failed and
24
       refused and do fail and refuse to correct said erroneous dating of the purported delinquent
25

26     dating of the account.

27            18.    As a direct result of these Defendants conduct in maintaining and
28
                                              COMPLAINT




                                                    4


                                                                                           Exh. A Pag 9
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i   •




             1
                 reporting thi:; inappropriate information to potential credit grantors and others,
             2
                 PLAINTIFF has been, is and will continue to be denied licensing, credit or is being
             3
                 denied more favorable credit terms, all of which has been and is damaging in a

             5   sum uncertain to PLAINTIFF who asks leave of the court to amend this Complaint to

             6   state said sum when the same becomes known to him.
             7
                        19.    Because of Defendants' conduct as above alleged, PLAINTIFF is entitled
             8
                 to punitive damages pursuant to Section 1785.31 (B) of the Civil Code of the State of
             9
                 California of not less than $100 nor more than $5,000 for each violation of the Act.
         10

        11              20. Plaintiff remits to the jurisdictional limit ofthe court.

        12              WHEREFORE, Plaintiff prays for judgment as follows:
        13
                        ON THE FIRST CAUSE OF ACTION
        14
                        Agai;nst Defendants: CBB, CAP ONE, XPN, TUC, EFX, DOES 1 - 5
        15

        16
                        1.      For actual damages according to proof;

        17              2.      for punitive damages of not less than $100 nor more than $5,000;

        18              ON THE SECOND CAUSE OF ACTION
        19
                        Agaimt Defendants: BAC, NCA, LVNV, XPN, TUC, EFX, DOES 6- 10
        20
                        3.      for actual damages according to proof;
        21
                        4.      for punitive damages of not less than $100 nor more than $5,000;
        22

        23              ON ALL CAUSES OF ACTION

        24              Against all Defendants:
        25
                        5.      for attorney fees, if any;
        26
                        6.      for cost of suit;
        27

        28
                                                         COMPLAINT




                                                               5
                                                                                                                 I
                                                                                                      Exh. A Pagel1o.
         Case 2:14-cv-01953-DMG-RZ Document 1 Filed 03/14/14 Page 12 of 34 Page ID #:17


·   ..

          1


          2
                     7.    for such further relief the court may deem just and equitable.

          3          Dated: February 14,2014

          4

          5
                                                  EDEN KRETCHET
          6                                       Plaintiff in propria persona
          7


          8

          9

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         11

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         28
                                                   COMPLAINT




                                                         6


                                                                                            Exh. A Page 1
                                                                                       --------     -------
                  Case 2:14-cv-01953-DMG-RZ Document 1 Filed 03/14/14 Page 13 of 34 Page ID #:18

 •.
.:J   ~       •
          •



                                             SUPERIOR COURT OF THE STATE OF CALIFORNIA
                  2

                  3                                  FOR THE COUNTY OF LOS ANGELES

                  4
                           In re Los Angeles Superior Court Cases General ) Case No.:   14 K 0 2 4 7 8
                  s Order- Limited Jurisdiction (Non-Collections) )
                           Cases                                         ) GENERAL ORDER
                  6                                                      )
                                                                         )
                  7
                                                                         )
                  8

                  9        TO EACH PARTY AND TO TilE ATTORNEY OF RECORD FOR EACH PARTY:
                  10
                           Pursuant to the California Code of Civil Procedure, the California Rules of Court, and the·
                  11
                           Los Angeles County Court Rules, the COURT HEREBY GENERALLY ORDERS AS
                  12
                            FOLLOWS IN TinS ACTION:
                  13

                  14               l.      PLAINTIFF/SIS/ARE ORDERED TO SERVE A COPY OF TIDS

                  IS        GENERAL ORDER ON THE DEFENDANTIS WITH COPIES OF THE SUMMONS
                  16
                            AND COMPLAINT AND TO FILE PROOF OF SERVICE, AS MANDATED IN TIDS
                  17
                            ORDER. (Code Civ. Proe., § 594, subd. (b).)
                  18

                  19
                                    2.     The Court sets the following trial date in this case in Department 77 at the

                  20        Stanley Mosk Courthouse, Ill North Hill Street, Los Angeles, CA 90012:
                  21
                               PO& 0 8 I 1 4 I 2014 miAL: 0 a 1 1 4/ 2015 OSC: 0 ZI 1 41 2017
                   22




                                   I
                                      TRIAL:


                                                                                                                      I
                   23

                   24
                                    .     • D a t e : - - - - - - - - - - - at 8:30a.m.

                   2S

                      26
                                                  SERVICE OF SUMMONS AND COMPLAINT

                      27            3.      The trial date set forth above is conditioned on the defendantls being served

                      28     with the summons and complaint within six (6) months of the filing of the complaint. The



                                                                    GENERAL ORDER· I

                                                                                                                 Exh. A Page 12
        Case 2:14-cv-01953-DMG-RZ Document 1 Filed 03/14/14 Page 14 of 34 Page ID #:19



-
.....
  '                   SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                     NOTICE OF CASE PROCEDURES & REQUIREMENTS LIMITED CIVIL
                                     (NON-COLLECTION)ACTIONS

                                          Case N u m b e r : - - - - - - - -

             THIS FORM W1LL BE POSTED IN THE COURTROOM AND ON THE COURT'S WEBSITE


            LIMITED JURISDICTION CASE MANAGEMENT PROCEDURES AND INSTRUCTIONS

            The following critical provisions, as applicable in the Central District are cited for your
            information:

            TIME STANDARDS:

            COMPLAINTS: All complaints should be served and the proof of service filed within 60 days
            after filing of the complaint.

            CROSS-COMPLAINTS: Without leave of court first being obtained, no cross-complaint may be
            filed by any party after their answer is filed. Cross-complaints against parties new to the action must
            be served and the proof of service filed within 30 days after the filing of the cross-complaint. A
            cross-complaint against a party who has already appeared in the action must be accompanied by
            proof of service of the cross-complaint at the time it is filed (Code Civ. Proc. §428.50).


            DEFAULTS: (Local Rule 9.10, Cal. Rules of Court, rule 3.110(g)). If a responsive pleading is not
            served within the time to respond and no extension of time has been granted, the plaintiff should file
            a Request for Entry of Default within I 0 calendar days after the time to respond has elapsed. The
            plaintiff should request default judgment on the defaulting defendants within 40 calendar days after
            entry of default. Requests for entry of default judgments will only be considered based upon written
            submissions.


            NOTICED MOTIONS: All regularly noticed pre-trial motions will be heard in the Limited Civil
            Courtroom on Mondays, Tuesdays, Wednesdays and Thursdays at 8:30a.m. and will require parties
            to reserve a hearing date in Department 77. Motions for Summary Judgment must be identified at
            the time of reservation. All motions should be filed in Room 102. Tentative rulings may be posted
            on the Court's internet site, http://www.lasuperiorcourt.org/tentative rutin~, the day prior to the
            hearing.


            EX-PARTE MATTERS: All pre-trial ex-parte applications should be noticed in the Limited Civil
            Court, Department 77 for I :30 p.m. Ex parte appearance applications for Department 77 wiH be
            heard daily and must be filed by I :00 p.m. daily in Room 102 on the day of the hearing.


            UNINSURED MOTORISTS CLAIMS: Delay Reduction Rules do not apply to uninsured
            motorist claims. The plaintiff must file a Notice of Designation with the Court, identifYing the case
            as an uninsured motorist claim under Insurance Code section 115 80.2

                                                                                                            217113    •

                                                                                                    Exh. A Page 13
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        trial date will be continued to a later date if service is not accomplished within six (6)

    2   months. The parties may stipulate to keep the original trial date even if service of the

    3   summons and complaint is not completed within six (6) months of the filing of the original
    4
        complaint.
    s
                    4.    The summons and complaint shall be served upon the defendant/s within three
    6
        (3} years after the complaint is filed in this action. (Code Civ. Proc., § 583.210, subd. (a).)
    7

    g   Failure to comply will result in dismissal, without prejudice, of the action, as to all unserved

    9   parties who have not been dismissed as of that date. (Code Civ. Proc., §. 581, subd. (b)(4).).
   10                                          •
        The dismissal as to the unserved parties, without prejudice, for this case shall be effective on
   II
        the following date:
   12
              .··   - - - - - - · - - - - - - - - - - - - - - - --------·---·------- ------ - - -


                                 UNSERVED PARTIES DISMISSAL DATE
   14

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   18
                    5.     No Case Management Review (CMR) will be conducted in this case.
  19

  20                                           LAW AND MOTION

  21          . 6.         All regularly noticed pre-trial motions will be heard in Department 77 on
  22
        Mondays, Tuesdays, Wednesdays, and Thursdays at 8:30a.m. Motions will require parties
  23
        to reserve a hearing date by calling (213) 974-6247. All motions should be filed in Room
  24
        I 02 of the Stanley Mosk Courthouse.

  26                7.     Tentative rulings may be posted on the Court's internet site at

  27    http://www.lasuperiorcourt.org/tentativeruling the day prior to the hearing.
  28




                                                   GENERAL ORDER· 2



                                                                                             Exh. A Page 14
               Case 2:14-cv-01953-DMG-RZ Document 1 Filed 03/14/14 Page 16 of 34 Page ID #:21

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          ·'

~    ..
                                                         EX PARTE APPLICATIONS

                2            8.          Ex parte applications should be noticed for 1:30 p.m. in Department 77. All

                3     applications must be filed by 1:00 p.m. in Room 102 of the Stanley Mosk Courthouse.
                4
                                                                JURY FEES
                s
                             9.          The fee shall be due no later than 365 calendar days after the filing of the
                6
                      initial complaint. (Code Civ. Proc., § 631, subds. (b) and (c).)
                 7

                 8                                 STIPULATION TO CONTINUE TRIAL
                 9            10.        A trial will be postponed if all attorneys of record and/or the parties who have
                10
                      appeared in the action stipulate in writing to a specific continued date. If the Stipulation is
                II
                      filed less than five (5) court days before the scheduled trial date, then a courtesy copy of the
                12

                13
                      stipulation must be filed in Department 77. The stipulation and order should be filed in

                14    Room 102 of the Stanley Mosk Courthouse with the requj.red filing fees. (Code Civ. Proc., §
                 IS
                       595.2 and Govt. Code§ 70617, subd. (c)(2).}
                 16
                                                                       TRIAL
                 17
                              11.         Parties are to appear on the trial date ready to go to trial, and must meet and
                 18

                 19    confer on all pretrial matters at least 20 calendar days before the trial date. On the day of

                 20    trial the Parties shall bring with them to Department 77 all of the following:
                 21
                                    i.    Joint Statement of the Case;
                 22
                                  u.      Motions in Limine, which must be served and filed in accordance with the
                 23
                                          Local Rules of the Los Angeles Superior Court { LASC), ~-local rule 3.57;
                 24
                 2S               iii.    Joint Witness List disclosing the witnesses who will be called what they will
                 26                       testify to, and how long their testimony will take;
                 27
                                  iv.     Joint Exhibits in exhibit books, numbered appropriately, and Exhibit List;
                 28




                                                                   OENEIW.. ORDER· J

                                                                                                                Exh. A Page 15
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                                                                                                                  ,..
                 v.    Joint Proposed Jury Instructions printed out for the court; and

     2           vi.   JointProposed Verdict form(s) printed out for the court.

     3          12.    FAILURE TO COMPLY WITH ANY REQUIREMENT SET FORTH
     4
          IN PARAGRAPH 11 ABOVE MAY RESULT IN SANCTIONS OR THE VACATING
     s
          OF THE TRIAL DATE. (Los Angeles Superior Court Local Rule 3.37.)
     6

     7

     8          GOOD CAUSE APPEARING THEREFORE, IT IS SO ORDERED.
     9

     10

     II

                                                                                                         ~
          DATE: March 13,2013
     12
-----····---------------·····--                         .   n   -·-·




     13                                                                Ron. Stephanie Bowick
                                                                       Judge of the Superior Court
     14

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                                                 GENERAL ORDER • 4


                                                                                                 Exh. A Page 16
        Case 2:14-cv-01953-DMG-RZ Document 1 Filed 03/14/14 Page 18 of 34 Page ID #:23


_,...
.SHORT TITLE:
                        KRETCHET v. TRANS UNION LLC                                                             CASE NUMBER         1 4 K0 2 4 7 8

                                        CIVIL CASE COVER SHEET ADDENDUM AND
                                                STATEMENT OF LOCATION
                         (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

                    This form is required pursuant to Local Rule 2.0 in all new civil case filings in the Los Angeles Superior Court.

   Item I. Check the types of hearing and fill in the estimated length of hearing expected for this case:

          JURY TRIAL?          D     YES    CLASS ACTION?      D     YES LIMITED CASE?         ill   YES    TIME ESTIMATED FOR TRIAL _3_---"'0"'-!.H.!."O'-"U<'-R'-"S"-1-"'0"'--"D.,_A.,_,Y-"'S


   Item II. Indicate the correct district and courthouse location (4 steps -If you checked "Limited Case", skip to Item Ill, Pg 4)


          Step 1: After first completing the Civil Case Cover Sheet form, f(nd the main Civil Case Cover Sheet heading for your
          case in the left margin below, and, to the right in Column A, the Civil Case Cover Sheet case type you selected.


          Step 2:           Check~ Superior Court type of action in Column                   B below which best describes the nature of this case.

          Step 3: In Column C, circle the reason for the court location choice that applies to the type of action you have
          checked For any exception to the court location, see Local Rule 2.0.

                                     Applicable Reasons for Choosing Courthouse Location (see Column C below)

               1.   Class actions must be filed in the Stanley Mask Courthouse, central district       6.   Location   of property or permanently garaged vehicle.
               2.   May be filed rn central (other county. or no bodily injury/property damage).       7.   Location   where petitioner resides.
               3.   Location where cause of action arose.                                              8.   Location   wherein defendanVrespondent functions wholly.
               4.   Location where bodily injury. death or damage occurred.                            9.   Location   where one or more of the parties reside.
               5.   Location where performance required or defendant resides.                         10.   Location   of Labor Commissioner Office



          Step 4: Fill in the information requested on page 4 in Item Ill; complete Item IV. Sign the declaration.


                                        A                                                             B                                                                       c
                             Civil Case Cover Sheet                                           Type of Action                                                     Applicable Reasons -
                                   Category No.                                              (Check only one)                                                     See Step 3 Above

                                    Auto (22)              0   A7100 Motor Vehicle • Personal Injury/Property Damage/\Nrongful Death                             1 . 2. 4.

                             Uninsured Motorist (46)       0   A7110 Personal Injury/Property Damage/\Nrongful Death - Uninsured Motorist                        1 '2 '4.


                                                           0   A6070 Asbestos Property Damage                                                                    2.
                                  Asbestos (04)
                                                           0   A7221 Asbestos- Personalln)ury/\Nrongful Death                                                    2.
        .f;'t
        "'  0
        c..l-
        0  ..c
        ....    -             Product Liability (24)       0   A7260 Product Liability (not asbestos or toxidenvironmental)                                      1 ,2,3 . 4 .. 8.

    -
    0...

    .a:;
        ~0
                "'
                "'
                            Medical Malpractice (45)
                                                           0   A7210 Medical Malpractice- Physicians & Surgeons                                                  1 . 4.
    ..50,                                                  0   A7240 Other Professional Health Care Malpractice                                                  1.. 4.
    -;;; g
     g~                                                    0   A7250 Premises Liability (e.g., slip and fall)
     a; (ii                                                                                                                                                      1..4
    0... Ol                          Other
     .... "'                     Persona! InJUry           0   A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g.,
                                                                                                                                                                 1. 4
     "' E
    ..c "'                      Property Damage                      assault, vandalism, etc.)
    50                           Wrongful Death            0   A7270 Intentional Infliction of Emotional Distress
                                                                                                                                                                 1. 3.
                                      (23)
                                                           0   A7220 Ot.~er Personal Injury/Property Damage/\Nrongful Death                                      1 '4.




  LACIV 109 (Rev 03/11)                                  CIVIL CASE COVER SHEET ADDENDUM                                                                    Local Rule 2.0
  LASC Approved 03-04                                       AND STATEMENT OF LOCATION                                                                           Page 1 of 4
                                                                                                                                                     Exh. A Page 17
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             KRETCHET v. TRANS UNION LLC


                             A                                                         B                                                          c
                 Civil Case Cover Sheet                                          Type of Action                                     Applicable Reasons -
                       Category No.                                             (Check only one)                                     See Step 3 Above

                   Business Tort (07)         0   A6029 Other Commercial/Business Tort (not fraud/breach of contract)               1., 3.


                    Civil Rights (08)         0   A6005 Civil Rights/Discrimination                                                 1., 2., 3.


                    Defamation (13)           0   A6010 Defamation (slander/libel)                                                  1., 2., 3.


                       Fraud (16)             0   A6013 Fraud (no contract)                                                         1 '2., 3.


                                              0   A6017 Legal Malpractice                                                           1., 2., 3.
              Professional Negligence (25)
                                              0   A6050 Other Professional Malpractice (not medical or legal)                       1., 2., 3.


                         Other (35)           0   A6025 Other Non-Persona/Injury/Property Damage tort                               2.,3.


     c(I>
               Wrongful Termination (36)      0   A6037 Wrongful Termination                                                        1., 2., 3
      E
      >.
     0                                        0   A6024 Other Employment Complaint Case                                             1 ., 2., 3.
    c.          Other Employment (15)
      E                                       0   A6109 Labor Commissioner Appeals                                                  10.
    w

                                              0   A6004 Breach of Rental/Lease Contract (not unlawful detainer or wrongful
                                                                                                                                    2, 5.
                                                        eviction)
              Breach of Contract/ Warranty                                                                                          2., 5.
                          (06)
                    (not insurance)
                                              0
                                              0
                                                  A6008 Contract/Warranty Breach -Seller Plaintiff (no fraud/negligence)

                                                  A6019 Negligent Breach of Contract/Warranty (no fraud)
                                                                                                                                    1 '2, 5
                                                                                                                                                           I
                                                                                                                                    1., 2 '5.
                                              0   A6028 Other Breach of Contract/Warranty (not fraud or negligence)
    .....u
     :."!!                                    0   A6002 Collections Case-Seller Plaintiff                                           2., 5. 6
    c0              Collections (09)
                                              0   A6012 Other Promissory Note/Collections Case                                      2. 5.
   (.)


               Insurance Coverage (18)        0   A6015 Insurance Coverage (not complex)                                            1 • 2., 5., 8.


                                              0   A6009 Contractual Fraud                                                           1 • 2., 3. 5.
                  Other Contract (37)         0   A6031 Tortious Interference                                                       1. 2., 3. 5.

                                              0   A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)               1, 2., 3, 8.

               Eminent Domarnllnverse
                                              0   A7300 Eminent Domain/Condemnation                Number of parcels _ _ _          2
                 Condemnation (14)

                 Wrongful Eviction (33)       0   A6023 Wrongful Eviction Case                                                      2. 6.


                                              0   A6018 Mortgage Foreclosure                                                        2. 6.

               Other Real Property (26)       0   A6032 Quiet Title                                                                 2. 6.
                                              0   A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure)      2. 6.

             Unlavvful Detainer-Commercial
                          (31)
                                              0   A6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction)               2., 6

             Unlawful Detainer-Residential
                         (32)
                                              0   A6020 Unlavlful Detainer-Residential (not drugs or wrongful eviction)             2 '6.

                 Unlawful Detainer-
                Post-Foreclosure (34)
                                              0   A6020F Unlawful Detainer-Post-Foreclosure                                         2., 6


             Unlawful Detainer-Drugs (38)     0   A6022 Unlavlful Detainer-Drugs                                                    2. 6.




LAC IV 109 (Rev 03/11)                       CIVIL CASE COVER SHEET ADDENDUM                                                     Local Rule 2.0
LASC Approved 03-04                             AND STATEMENT OF LOCATION                                                          Page 2 of 4
                                                                                                                           Exh. A Page 18
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SHORT TITLE:                                                                                       CASE NUMBER
               KRETCHET v. TRANS UNION LLC


                               A                                                           B                                                c
                   Civil Case Cover Sheet                                            Type of Action                           Applicable Reasons -
                         Category No.                                               (Check only one)                           See Step 3 Above

                    Asset Forfeiture (05)          0   A6108 Asset Forfeiture Case                                            2., 6.


                  Petition re Arbitration ( 11)    0   A6115 Petition to Compei/ConfirmNacate Arbitration                     2., 5.


                                                   0   A6151 Writ - Administrative Mandamus                                   2 '8.
                    Writ of Mandate (02)           0   A6152 Writ- Mandamus on Limited Court Case Matter                      2.

                                                   0   A6153 Writ - Other Limited Court Case Review                           2.


                  Other Judicial Review (39)       0   A6150 Other Writ /Judicial Review                                      2., 8.


     c:         AntitrusUTrade Regulation (03)     0   A6003 AntitrusUTrade Regulation                                         1., 2., 8.
    .2
    iii
     E             Construction Defect ( 10)       0   A6007 Construction Defect                                               1 '2' 3.
    ::::i
     X
     Cl          Claims Involving Mass Tort
     a..                    (40)
                                                   0   A6006 Claims Involving Mass Tort                                        1 '2' 8.
     E
     0
    (.)
                   Securities Litigation (28)      0   A6035 Securities Litigation Case                                        1,2., 8.
    ..:::-
    -;;;
     c:                  Toxic Tort
     0
    ·u;              Environmental (30)
                                                   0   A6036 Toxic Tort/Environmental                                          1 '2' 3' 8.
     >
     0
                 Insurance Coverage Claims
    0:..           from Complex Case (41)
                                                   0   A6014 Insurance Coverage/Subrogation (complex case only)                1 '2, 5 '8


                                                   0   A6141   Sister State Judgment                                           2., 9.

                                                   0   A6160 Abstract of Judgment                                              2., 6.

                        Enforcement                0   A6107 Confession of Judgment (non-domestic relations)                   2., 9.
                      of Judgment (20)             0   A6140 Administrative Agency Award (not unpaid taxes)                    2 '8.
                                                   0   A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax          2' 8.
                                                   0   A6112 Other Enforcement of Judgment Case                               2,8,9


                          RICO (27)                0   A6033 Racketeering {RICO) Case                                          1 '2' 8.

                                                   0   A6030 Declaratory Relief Only                                           1 '2' 8.

                     Other Complaints              0   A6040 Injunctive Relief Only (not domestic/harassment)                  2., 8
                 (Not Specified Above) (42)        0   A6011 Other Commercial Complaint Case (non-tort/non-complex)            1, 2, 8.

                                                   IZl A6000 Other Civil Complaint (non-tort/non-complex)                      1 '2' 8.

                   Partnership Corporation
                                                   0   A6113 Partnership and Corporate Governance Case                         2 '8.
                      Governance (21)

                                                   0   A6121 Civil Harassment                                                  2., 3' 9
                                                   0   A6123 Workplace Harassment                                              2, 3' 9.
                                                   0   A6124 Elder/Dependent Adult Abuse Case                                  2 '3' 9.
                       Other Petitions
                    (Not Specified Above)          0   A6190 Election Contest                                                  2.
                            (43)
                                                   0   A6110 Petition for Change of Name                                      2., 7

                                                   0   A6170 Petition for Relief from Late Claim Law                          2,3, 4 '8.

                                                   0   A6100 Other Civil Petition                                             2., 9




LACIV 109(Rev 03/11)                              CIVIL CASE COVER SHEET ADDENDUM                                           Local Rule 2.0
LASC Approved 03-04                                  AND STATEMENT OF LOCATION                                                Page 3 of4
                                                                                                                        Exh. A Page 19
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SHORT TITLE:                                                                                CASE NUMBER
               KRETCHET v. TRANS UNION LLC



 Item Ill. Statement of Location: Enter the address of the accident, party's residence or place of business, performance, or other
 circumstance indicated in Item II.,     Step 3 on Page 1, as the proper reason for filing in the court location you selected.

                                                                       AOORESS:
  REASON: Check the appropriate boxes for the numbers shown            11137 FREER STREET, TEMPLE Clll' CA 91780-3606
  under Column C for the type of action that you have selected for
  this case.

         01. 02. 03. 04. 05. 06. 07. 08. 09. 010.
  CITY                                       STATE       ZIP CODE:

  TEMPLE Clll'                              CA          91780-3606



 Item IV. Declaration of Assignment: 1declare under penalty of perjury under the laws of the State of California that the foregoing is true
 and correct and that the above-entitled matter is properly filed for assignment to the Stanley Mosk                       courthouse in the
 _c_e_n_t_ra_I_D_is_tr_ic_t_ _ _ District of the Superior Court of California, County of Los Angeles [Code Civ. Proc., § 392 et seq., and Local
 Rule 2 0, subds. (b), (c) and (d)].




 Dated:                                                                                    ~
                                                                                             t!;L_.···
                                                                                                       I
                                                                                        (SIGNATURE OF ATIORNEY/FILING PARTY)




 PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
 COMMENCE YOUR NEW COURT CASE:

           Original Complaint or Petition.

      2.   If filing a Complaint, a completed Summons form for issuance by the Clerk.

      3.   Civil Case Cover Sheet, Judicial Council form CM-010.

      4.   Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev
           03/11)

      5.   Payment in full of the filing fee, unless fees have been waived.

      6.   A signed order appointing the Guardian ad litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
           minor under 18 years of age will be required by Court in order to 1ssue a summons.

      7.   Additional copies of documents to be conformed by the Clerk. Coptes of the cover sheet and th1s addendum
           must be served along with the summons and complaint, or other initiating pleading in the case.




LAC IV 109 (Rev. 03111)                   CIVIL CASE COVER SHEET ADDENDUM                                                   Local Rule 2.0
LASC Approved 03-04                          AND STATEMENT OF LOCATION                                                         Page 4 of 4

                                                                                                                      Exh. A Page 20
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                                            BarNo.

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       5
                                                        INC.
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       7
       8                                             OF THE STATE OF CALIFORNIA
       9                     COUNTY OF LOS ANGELES,                           DISTRICT
      lO

      ll

      12                                                       CASE NO. 14K02478



      !4         V.
                                                                                     INC.'S
      15                                                       ANS\VER AND AFFIRMATlVE
                                                                        TO          EDEN
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      !7                                                                                    2014

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      22         CO!'v!ES NOW                                                  lnc                 and
                     its                                           Eden Kretchet' s                      as
      24   ioHuws:

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      26                   to section 431      of the California
      27

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                                                                                      Exh. A Page 21
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         costs, expenses or attorneys' fees in any matter or sum whatsoever, by reason of any act or

     2   omission ofExpcrian, its agents, employees and/or anyone acting on Experian's behalf. Experian

     3   further denies that Plaintiff is entitled to the relief sought, or to any relief whatsoever.

     4                                       AFFIRMATIVE DEFENSES

     5            As separate and distinct affirmative defenses to the Complaint, Experian alleges as

     6   follows:

     7                                   FIRST AFFIR"\tiATIVE DEFENSE

     8                      (FAILURE TO STATE A CLAIM AGAINST EXPERIAN)

     9              l.    The Complaint, and each purported cause of action therein, fails to state facts

    10   sufficient to constitute a cause of action against Experian and further fails to state facts sufficient

    11   to entitle Plaintiff to the relief sought, or to any other relief whatsoever, from Experian.

    12                                  SECOND AFFIRMATIVE DEFENSE

    13                                                (IMMUNITY)

    14             2.     Plaintiff's claims are barred as against Experian by the qualified immunity of

    15   15 U.S.C. § 1681h(e).

    16                                   THIRD AFFIRMATIVE DEFENSE

    17                                                  (WAIVER)
                    "\
    18              .).   Plaintiff's claims arc barred, in whole or in part, by the doctrine of waiver.

    19                                  FOURTH AFFIRMATIVE DEFENSE

    20                                          (TRUTH/ACCURACY)

    21              4.    Plaintiff's claims are barred as against Experian because all information Experian

    22   communicated to any third person regarding Plaintiff was true.

    23                                    FIFTH AFFIRMATIVE DEFENSE

    24                                 (FAILURE TO MITIGATE DAMAGES)

    25              5.     Plaintiff has failed to mitigate her damages.

    26                                    SIXTH AFFIR"\tiATIVE DEFENSE

    27                                                  (LACHES)

    28              6.     The Complaint and each claim for relief therein is barred by laches.
         IR!-Ii0878vl                                         2
                          EXPERIAN'S ANSWER AND AFFIRMATIVE DEFENSES TO C~Lt~Jge
                                                                                                        22
Case 2:14-cv-01953-DMG-RZ Document 1 Filed 03/14/14 Page 24 of 34 Page ID #:29




                                        SEVENTH AFFIRMATIVE DEFENSE

     2                              (CONTRIBUTORY/COMPARATIVE FAULT)

     3              7.     Experian is informed and believes and thereon alleges that any alleged damages

     4   sustained by Plaintitf was, at least in part, caused by the actions of Plaintiff herself and resulted

     5   from Plaintiffs own negligence which equaled or exceeded any alleged negligence or

     6   wrongdoing by Experian.

     7                                   EIGHTH AFFIRMATIVE DEFENSE

     8                                                 (ESTOPPEL)

     9              8.     Any damages that Plaintiff may have suffered, which Experian continues to deny,

    10   were the direct and proximate result of the conduct of Plaintitf. Therefore, Plaintiff is estopped

    11   and barred from recovery of any damages whatsoever as against Experian.

    12                                     NINTH AFFIRMATIVE DEFENSE

    13                                      (STATUTE OF LIMITATIONS)

    14              9.      Experian is informed and believes and thereon alleges that all claims for relief in

    15   the Complaint against Experian are barred by the applicable statutes of limitation.

    16                                    TENTH AFFIRMATIVE DEFENSE

    17                                          (INTERVENING CAUSE)

    18              10.     Plaintiffs alleged damages, which Experian continues to deny, were not caused by

    19   Experian but by an independent intervening cause, including but not limited to accurate negative

    20   information regarding Plaintiff.

    21                                  ELEVENTH AFFIRMATIVE DEFENSE

    22                                             (UNCLEAN IL<\NDS)

                     11.    The Complaint, and each claim for relief therein that seeks equitable relict: is

    24   barred by the doctrine of unclean hands.

    25                                  TWELFTH AFFIRMATIVE DEFENSE

    26                                            (INDEMNIFICATION)

    27               12.    Experian is informed and believes and thereon alleges that any purported damages

    28   allegedly sutfered by Plaintiff are the results of the acts or omissions of third persons over whom
         IRI-Ii0878v l                                        3
                           EXPERIAN'S ANSWER AND AFFIRMATIVE DEFENSES TO CQi'\1PLMNT
                                                                                        I::Xh. A Page 2 3
Case 2:14-cv-01953-DMG-RZ Document 1 Filed 03/14/14 Page 25 of 34 Page ID #:30




         Experian had neither control nor responsibility.

     2                             THIRTEENTH AFFIRMATIVE DEFENSE

     3                       (IMPROPER REQUEST FOR PUNITIVE DAMAGES)

     4            13.   Plaintiff's Complaint does not allege facts sufficient to rise to the level of conduct

     5   required to recover punitive damages, and thus all requests for punitive damages are improper.

     6                             FOURTEENTH AFFIRMATIVE DEFENSE

     7                         (RIGHT TO ASSERT ADDITIONAL DEFENSES)

     8            14.    Experian reserves the right to assert additional affirmative defenses at such time

     9   and to such extent as warranted by discovery and the factual developments in this case.

    10                                        PRAYER FOR RELIEF

    11            WHEREFORE, Defendant Experian prays as follows:

    12             1.    That Plaintifftake nothing by reason of the Complaint herein;

    13            2.     That the Complaint be dismissed in its entirety as to Experian;

    14            3.     That Experian be awarded costs of suit and reasonable attorneys' tees incurred

    15   herein; and

    16            4.     For such other and further relief as the Court may deem just and proper.

    17

    18   Dated: March 13,2014                                   JONES DAY
    19

    20
    21
                                                                Attorneys for Defendant
    22                                                          EXPERIAN INFORtvtA TION SOLUTIONS,
                                                                INC.
    23

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         1Rl-6087Svl                                        4
                        EXPERIAN'S ANSWER AND AFFIRMATIVE DEFENSES TO              CQMPLAI~T
                                                                                     Exh. A Page 24
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                                          PROOF OF SERVICE BY MAIL

     2            I, Estelle S. Pete, am a citizen of the United States and employed in Orange County,

     3   California. I am over the age of eighteen years and not a party to the within-entitled action. My

     4   business address is 3161 Michelson Drive, Suite 800, Irvine, California 92612.4408. I am

     5   readily familiar with this firm's practice for collection and processing of correspondence for

     6   mailing with the United States Postal Service. On March 13, 2014, I placed with this firm at the

     7   above address for deposit with the United States Postal Service a true and correct copy of the

     8   within document(s):

     9             DEFENDANT EXPERIAN INFORLVIATION SOLUTION INC.'S ANSWER
                   AND AFFIRMATIVE DEFENSES TO PLAINTIFF EDEN KRETCHET'S
    10             COMPLAINT
    11   in a sealed envelope, postage fully paid, addressed as follows:

    12             Eden Kretchet
                   11137 Freer Street
    13             Temple City, CA 91780
                   T: (949) 600-0380
    14             Plaintifj'in propria persona
    15             Following ordinary business practices, the envelope was sealed and placed for collection

    16   and mailing on this date, and would, in the ordinary course of business, be deposited with the

    17   United States Postal Service on this date.

    18             I declare under penalty of perjury under the laws of the State of California that the above

    19   is true and correct.

    20             Executed on March 13, 2014, at Irvine, California.

    21

    22
                                                                            Estelle S. Pete
    23

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         rRI-60878v I                                        5
                         EXPERIAN'S ANSWER AND AFFIRMATIVE DEFENSES TO C~.L~I~lge
                                                                                                     25
Case 2:14-cv-01953-DMG-RZ Document 1 Filed 03/14/14 Page 27 of 34 Page ID #:32



   1                              PROOF OF SERVICE BY MAIL
   2            I, Estelle S. Pete, am a citizen of the United States and employed in Orange
   3   County, California. I am over the age of eighteen years and not a party to the
   4   within-entitled action. My business address is 3161 Michelson Drive, Suite 800,
   5   Irvine, California 92612.4408. I am readily familiar with this firm's practice for
   6   collection and processing of correspondence for mailing with the United States
   7   Postal Service. On March 14, 2014, I placed with this firm at the above address for
   8   deposit with the United States Postal Service a true and correct copy of the within
   9   document(s):
  10             NOTICE OF REMOVAL OF ACTION: UNDER 28 U.S.C. §
                 1441
  11
       in a sealed envelope, postage fully paid, addressed as follows:
  12
                 Eden Kretchet
  13             11137 Freer Street
                 Temple City, CA 91780
  14             T: (94~) 600-0380   ·
                 Plaintiff in propria persona
  15
                 Following ordinary business practices, the envelope was sealed and placed
  16
       for collection and mailing on this date, and would, in the ordinary course of
  17
       business, be deposited with the United States Postal Service on this date.
  18
                 I declare that I am employed in the office of a member of the bar of this court
  19
       at whose direction the service was made.
 20
                 Executed on March 14, 2014, at Irvine, California.
 21
 22
 23
                                                                 Estelle S. Pete
 24
 25
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       IRI-60819vl                                               NOTICE OF REMOVAL OF ACTION
      Case 2:14-cv-01953-DMG-RZ Document 1 Filed 03/14/14 Page 28 of 34 Page ID #:33



  ··-                                           UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
                                                                                                        CIVIL COVER SHEET

1. (a) PLAINTIFFS ( Check box if you are representing yourself                                          D)                         DEFENDANTS                                      (Check box if you are representing yourself                                              D)
EDEN KRETCHET, Plaintiff in propria persona                                                                                         EXPERIAN INFORMATION SOLUTIONS, INC., et al.


(b) County of Residence of First Listed Plaintiff
                                                                              - - - - - - - - County of Residence of First Listed Defendant
(EXCEPT IN U.S. PLAINTIFF CASES)                                                                                                   (IN U.S. PLAINTIFF CASES ONLY)

(c) Attorneys (Firm Name, Address and Telephone Number) If you are                                                                 Attorneys (Firm Name, Address and Telephone Number) If you are
representing yourself, provide the same information.                                                                               representing yourself, provide the same information.
Eden Kretchet                                                                                                                       JONES DAY
11137 Freer Street                                                                                                                  3161 Michelson Drive, Suite 800
Temple City, CA 91780                                                                                                               Irvine, CA 92612
T: (949) 600·0380                                                                                                                   T: (949) 851-3939 I F: (949} 553-7539
II.   BASIS OF JURISDICTION (Place an X in one box only.)                                                           Ill. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
                                                                                                                               (Place an X in one box for plaintiff and one for defendant)
                                                                                                                                                                          PTF             DEF                                                                          PTf       DEF
      1, U.S. Government                   [8] 3. Federal Question (U.S.                                            Citizen ofThis State                                  0        1      0        1      lncoroorated or Principal Place                              D     4   D     4
                                                Government Not a Party)                                                                                                                                   of Business in this State
      Plaintiff
                                                                                                                    Citizen of Another State                              D        2      D        2      Incorporated and Principal Place
                                                                                                                                                                                                          of Business in Another State
0      2. U.S. Government                  0    4. Diversity (Indicate Citizenship                                  Citizen or Subject of a
                                                                                                                                                                          0        3      0        3      Foreign Nation
       Defendant                                of Parties in Item Ill)                                             Foreign Country


IV. ORIGIN (Place an X in one box only.)
     1. Original   'x1 2. Removed from                      D 3. Remanded from D 4.Rems
                                                                                     ·
                                                                                        tate or D
                                                                                            d
                                                                                                                                                                     S. Transferr:d from Another                              D       6. Multi·
                                                                                                                                                                                                                                         District
0       Proceeding ~ State Court                                      Appellate Court                                        Reopened                                   Dlstrl<t (,pecrfyJ                                            Litigation


V. REQUESTED IN COMPLAINT: JURY DEMAND:                                                   ~ Yes                0             No           (Check "Yes" only if demanded in complaint.)

CLASS ACTION             under F.R.Cv.P. 23:                0    Yes           0       No                                      0         MONEY DEMANDED IN COMPLAINT:                                                                       $
VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
 28 U.5.C. 1441 and 28 U.S.C. 1446, Fair Credit Reporting Act


VII. NATURE OF SUIT (Place an X in one box only).

I -~ ~~E"$1'}'-J1lTE5i;::·\{
 0 375 False Claims Act 0                 110 Insurance               0        240 Torts to Land                          0        462 Naturalization
                                                                                                                                   Application
                                                                                                                                                                                            Habeas Corpus:                                 D            820 Copyrights
     400 State
 0 Reapportionment           O            120Marine                   D        245 Tort Product                                                                                    0     463 Alien Detainee                                0            830 Patent
                                                                               Liability                                        465 Other                                          O     510 Motions to Vacate
 0 410 Antitrust             0            130 Miller Act              0        290 All Other Real                         0      Immigration Actions                                     Sentence                                          0            840Trademark
                                          140 Negotiable                       Property                                  .,,: .J'''' :; , TORoTS.":i:J~c J ,::•,                   0     530 General                                            '-:''f SOO'JI,L Sf;CUFU1Yt1:•'c7!:!:)      I
 0 430 Banks and Banking 0                                                _.-·t.•:·:TORT§Ss-':o;r.'··:.-"';:::·•P:;--E·"::R$-:-O:-N:::-·At:-:-··.:.o.,~"::"'O~PERT't'--7.
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                                          Instrument                                                                                                             __"",.....                                                                             861 HIA(1395ff)
       450 Commerce/ICC                   1so Recovery of                  PERSONA&ilfUU~),i;:, 0                                   370 Other Fraud                                                                            ,;:· · 0                 862 Black Lung (923)
       Rates/Etc.
                                     0    Overpayment &           /0          310Airplane
 0     460 Deportation                    Enforcement of                      3 15 Airplane                                0        371 Truth In lending                           O     540 Mandamus/Other                                O            863 DIWC/DIWW (405 (g))
       470 Racketeer lnflu-
                                          Judgment                    0       Product Liability      O                              380 Other Personal                             O     550 Civil Rights                                  0            864SSIDTitleXVI
 0     enced & Corrupt Org.         lu     151 MedfcareAct .                  320 Assault, Libel & '                                                                               O
 ~ 4BO Consumer Credit
                                    IO
                                          152 Recovery of
                                          Defaulted Student
                                                                  10I0        Slander
                                                                              330 Fed. Employers'
                                                                              Liability
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 0     490 Cable/Sat TV                   Loan (Excl. Vet.)
                                                                              340 Marine                                              "ANK~UPTC.Y:t: . ; ,                               Confl'lement                                      0            870 Taxes (U.S. Plaintiff or
 0
       850 Securities/Com·
       modities/Exchange
                                     0    153 Recovery of
                                          Overpayment of
                                                                  I00         345 Marine Product
                                                                              Liability
                                                                                                                           0        422 Appeal 28
                                                                                                                                    USC 158               !
                                                                                                                                                           '                           f'ORFElTURE/PENAt;fY,:·•
                                                                                                                                                                                         625 Drug Related                                  O
                                                                                                                                                                                                                                                        Defendant)
                                                                                                                                                                                                                                                        871 IRS-Third Party 26 USC

 0
       890 Other Statutory                Vet. Benefits                                                                             423Withdrawal28                            liD       SeizureofProperty21                                            7609
       Actions
                                    1n 160 Stockholders'          10          350 Motor Vehicle                            0        usc 157                                              usc 881
 0     891 Agricultural Acts        1w Suits                      0           355 Motor Vehicle                           . • ·,.•_ • CIVI~ ~HTSi;,:,:;;. I                        0     690 Other
                                                                              Product Liability
 0
       893 Environmental             0    1900ther                    O       360 Other Personal
                                                                                                                           0        440 Other Civil Rights 1.                                "·' ·: LABOR';\              n   > ·
       Matters                            Contract                                            0                                     441 Voting                                 fC       710 Fair labor Standards
                                                                              Injury
       895 Freedom of mfo.                                                                                                                                                              Act
 0                                        195 Contract                D       362 Personal Injury-
                                                                                                                                                                               1
       Act                           0 Product L'ability                      Med Malpratice  0                                    442 Emptoyment                              .0
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                                                                                                                                                                                         720 Labor/Mgmt.
 0     896 Arbitration
                                     0     196 F'anchise              0 365 Personal Injury-~ 0                                    443 Housing/                                1         Relations
                                    l--:::::-:-:--=-c==::-:--rl
      899 Admin. Procedures l--R-EA_L~·~PR_0 ...,.P_£_Rrt_-.....
                                                           :- _,
                                                                              Product Liability
                                                                              367 Health Care/
                                                                                                                                   Accommodations
                                                                                                                                   44$ American with
                                                                                                                                                                               IC 740RailwayLaborAct
                                                                                                                                                                               ;0       751 Fa~ily and Medical
 0    Act!ReviewofAppealofiO 210Land                              i_.O        Pharmaceutical                              D        Disabilities-
                                                                                                                                                                               '        leaveAct
      Agency Decision             Co'ldemnatlo'l                              Personal Injury                            I         Employment

        so c       · ·  1     f
                                     0
                                  220 Foreclosure                 I           Product Liability
                                                                              368 Asbestos
                                                                                                                         ID
                                                                                                                          0        446 American with
                                                                                                                                   Disabilities-Other
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                                                                                                                                                                                        790 Other Labor
                                                                                                                                                                                        litigation
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      State Statutes            :
                                  230 Rem Lease & ':·
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                                  E'ect-,.. e~t
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                                                                      0-      P      II .
                                                                               ersona nJUfY                                         448 Education                              :0        791 Employee Ret. Inc.
                                       ··· "                                  Product Li bil't                                                                                 l         Security Act


 FOR OFFICE USE ONLY:                             Case Number:                                   CV14-01953 DMG (RZX)
 CV-71 (11/13)                                                                                                  CIVIL COVER SHEET                                                                                                                                    Page 1 of 3
         Case 2:14-cv-01953-DMG-RZ Document 1 Filed 03/14/14 Page 29 of 34 Page ID #:34

                                            UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
                                                                  CIVIL COVER SHEET

VIII. VENUE:         Your answers to the questions below will determine the division of the Court to which this case will most likely be initially assigned. This initial assignment
is subject to change, in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.


Question A: Was this case removed from                                   STATECASEWASPENDINGINTHECOUNWOF;                                                      INITIAL DIVISION llltCACD 1St:
state court?                                                                               '              ..                                          I
                                                                                                                                                                         Western
                ~     Yes   0    No                ~      Los Angeles

                                                                                                                                                                         Western
If "no, " go to Question B. If "yes," check the    0      Ventura, Santa Barbara, or San Luis Obispo
box to the right that applies, enter the
                                                                                                                                                                        Southern
corresponding division in response to              0      Orange
Question D, below, and skip to Section IX.
                                                                                                                                                                             Eastern
                                                   0      Riverside or San Bernardino


Question B: Is the United States, or one of                          If the. United States,orone.ofitsagt:ndesoremployees, Is             a party, Is l~           •.                                         .··
its agencies or employees, a party to this                                                                                                                                                           ·····.
action?
                                                                         APLAINTIFF?>
                                                                                                    . ·..
                                                                                                                                  A DEFENDANT?'
                                                                                                                                                                                   .IN!IIAL··
                                                                                                                                                                                  DIVISION         IN ·        .
                                                                                                                                                                                                               ·.

                                                                                                                                                                                   CACD!St!                   >
                0     Yes   ~    No
                                                         Then check th~ box below for the county i~i    ·:·.       Then ch$;kthe hal( below fur the county irf
                                                       ·. which thf! majority of DEFENOAI\ITS resldeX          > ',   whlctrthemajority:ofPLAINTIFFSreskle; ...·
                                                                                                                                                                         .                    ,,              .:'

If "no, "go to Question C. If "yes," check the     0       Los Angeles                                         0      Los Angeles                                                  Western
box to the right that applies, enter the                   Ventura, Santa Barbara, or San Luis                        Ventura, Santa Barbara, or San Luis
corresponding division in response to              0       Obispo                                              0      Obispo
                                                                                                                                                                                   Western
Question D, below, and skip to Section IX.
                                                   0       Orange                                              0      Orange                                                       Southern

                                                   0       Riverside or San Bernardino                         0      Riverside or San Bernardino                                   Eastern

                                                   0       Other                                               0      Other                                                         Western


                                                  A.            .·                                                            ,         D.:       '
      Question C: Location of ·
plaintiffs, defendants, and claims? Los Angeles: VenturarSanta Barbara, or Orangetount}l                                        Riverside  or Saw·
 (Make only one.se!ectlon per row}:              Sant.uisOb!spoCounties: .     ··   ' . · •. fi                               Bernardino Counties·
                                      County
                                                 . ..      ;  ·•··· .·     :'           .·•·        .,                             ..    :.· ·.··
 Indicate the location in which a
 majority of plaintiffs reside:                   D                          D                       D                                  D                               D                                 D
 Indicate the location in which a
 majority of defendants reside:                   D                          D                          D                               D                               D                                 D
 Indicate the location in which a
 majority of claims arose:                        D                          D                          D                               D                               D                                 D
                                      ·.·                                                                                                                  .                           · ..



C.l. Is either of the following true? If so, check the one that applies:                        C.2. Is either of the following true? If so, check the one that applies:

       0    2 or more answers in Column C                                                                0         2 or more answers in Column D

       0    only 1 answer in Column C and no answers in Column D                                         0         only 1 answer in Column D and no answers in Column C


                      Your case will initially be assigned to the                                                             Your case will initially be assigned to the
                               SOUTHERN DIVISION.                                                                                        EASTERN DIVISION.
                 Enter "Southern" in response to Question D, below.                                                       Enter "Eastern" in response to Question D, below.

                    If none applies, answer question C2 to the right.          -+                                                  If none applies, go to the box below.      l
                                                                              Your case will initially be assigned to the
                                                                                        WESTERN DIVISION.
                                                                          Enter "Western" in response to Question D below.




 Question D: Initial Division?

 Enter the initial division determined by Question A, B, or C above:           ...                                                        INmAL DNISION INCACD


                                                                                                                                                  Western




  CV-71 (11113)                                                                         CIVIL COVER SHEET                                                                                Page 2of3
        Case 2:14-cv-01953-DMG-RZ Document 1 Filed 03/14/14 Page 30 of 34 Page ID #:35

                                           UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
                                                                CIVIL COVER SHEET

IX(a). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed?                                 (8]   NO            D      YES

         If yes, list case number(s):


IX(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case?                                 (8]   NO             DYES
         If yes, list case number(s}:


   Civil cases are deemed related if a previously filed case and the present case:

   (Check all boxes that apply)     D A. Arise from the same or closely related transactions, happenings, or events; or
                                    D B. Call for determination of the same or substantially related or similar questions of law and fact; or
                                    D C. For other reasons would entail substantial duplication of labor if heard by different judges; or


X. SIGNATUREOFATTORNEY
(OR SELF-REPRESENTED LITIGANT):                                                                                                     DATE:      March 14, 2014

Notice to Counsel/Parties: The CV-71 (JS-44) Civil over Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or
other papers as required by law. This form, approved by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rule 3-1 is not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet).

Key to Statistical codes relating to Social Security Cases:

      Nature of Suit Code        Abbreviation                   Substantive Statement of Cause of Action
                                                    All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,
         861                        HIA             include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
                                                    (42 U.S.C. 1935FF(b))

         862                        BL              All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969. (30 U.S. C.
                                                    923)

                                                    All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
         863                        DIWC
                                                    all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))

                                                    All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
         863                        DIWW
                                                    amended. (42 U.S.C. 405 (g))

                                                    All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
         864                        SSID
                                                    amended.


         865                        RSI             All claims for retirement (old age} and survivors benefits under Title 2 of the Social Security Act, as amended.
                                                    (42 u.s.c. 405 (g))




CV-71 (11/13)                                                                    CIVIL COVER SHEET                                                                   Page 3 of 3
Case 2:14-cv-01953-DMG-RZ Document 1 Filed 03/14/14 Page 31 of 34 Page ID #:36



   1                              PROOF OF SERVICE BY MAIL
   2             I, Estelle S. Pete, am a citizen of the United States and employed in Orange
   3   County, California. I am over the age of eighteen years and not a party to the
   4   within-entitled action. My business address is 3161 Michelson Drive, Suite 800,
   5   Irvine, California 92612.4408. I am readily familiar with this firm's practice for
   6   collection and processing of correspondence for mailing with the United States
   7   Postal Service. On March 14, 2014, I placed with this firm at the above address for
   8   deposit with the United States Postal Service a true and correct copy of the within
   9   document(s):
  10             CIVIL COVER SHEET
  11   in a sealed envelope, postage fully paid, addressed as follows:
  12             Eden Kretchet
                 11137 Freer Street
  13             Temple City, CA 91780
                 T: (949) 600-0380
  14             Plaintiff in propria persona
  15             Following ordinary business practices, the envelope was sealed and placed
  16   for collection and mailing on this date, and would, in the ordinary course of
  17   business, be deposited with the United States Postal Service on this date.
  18             I declare that I am employed in the office of a member of the bar of this court
  19   at whose direction the service was made.
 20              Executed on March 14, 2014, at Irvine, California.
 21
 22
 23                                                              Estelle S. Pete

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       IRI-60821 vl                                                           PROOF OF SERVICE
                                                  - 2-
Case 2:14-cv-01953-DMG-RZ Document 1 Filed 03/14/14 Page 32 of 34 Page ID #:37




                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA

                             NOTICE OF ASSIGNMENT TO UNITED STATES JUDGES


           This case has been assigned to District Judge     _ _ _ _. . .c; .D. : . ol: ;:.,ly'--'M:. .:.:. . G...::..;_ee'------ and the assigned
  Magistrate Judge is                   Ralph Zarefsky


                     The case number on all documents filed with the Court should read as follows:


                                               CV14-01953 DMG (RZx)


            Pursuant to General Order 05-07 of the United States District Court for the Central District of
  California, the Magistrate Judge has been designated to hear discovery related motions.


            All discovery related motion_s_shot!ld be_noti~edQ!1Jh~_c<!len.da.,r Q(the_Magistrate Judge.




                                                                           Clerk, U. S. District Court


                 March 14,2014                                             By     Nancy Boehme
                      Date                                                       Deputy Clerk




                                                  NOTI'CE TOCOUNSEl ·

  A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
  filed, a copy ofthis notice m·ust be served on aU plaintiffs).                   ·· --

  Subsequent documents must be filed at the following location:


      0     Western Division                [BJ Southern Division                          0      Eastern Division
            312 N. Spring Street, G-8           411 West Fourth St., Ste 1053                     3470 Twelfth Street, Room 134
            Los Angeles, CA 90012               Santa Ana, CA 92701                               Riverside, CA 92501


  Failure to file at the proper location will result in your documents being returned to you.


CV-18 (08fl3)                           NOTICE OF ASSIGNMENT TO UNITED STATES JUDGES
Case 2:14-cv-01953-DMG-RZ Document 1 Filed 03/14/14 Page 33 of 34 Page ID #:38
                                -~-·~------------~~----,·--·-·




                                       UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA
 EDEN KRETCHET                                                 CASE NUMBER

                                                                             CV14-01953 DMG (RZx)

                                v.              PLAINTiFF($)   J..-------------------
 TRANS UNION LLC, et al.,
                                                                        NOTICE TO PARTIES OF
                                                                    COURT -DIRECTED ADR PROGRAM
                                              DEFENDANT($)


 NOTICE TO PARTIES:
         It is the policy of this Court to encourage settlement of civil litigation when such is in the best
 interest of the parties. The Court favors any reasonable means, including alternative dispute resolution
 (ADR), to accomplish this goal. See Civil L.R. 16-15. Unless exempted by the trial judge, parties in all
 civil cases must participate in an ADR process before trial. See Civil L.R. 16-15.1.

       The district judge to whom the above-referenced case has been assigned is participating in an
 ADR Program that presumptively directs this case to either the Court Mediation Panel or to private
 mediation. See       General
                        Order No. 11-10, §5. For more information about the Mediation Panel, visit
 the Court website, www.cacd.uscourts.gov, under "ADR."

        Pursuant to Civil L.R. 26-l(c), counsel are directed to furnish and discuss with their clients the
 attached ADR Notice To Parties before the conference of the parties mandated by Fed.R.Civ.P. 26(£).
 Based upon the consultation with their clients and discussion with opposing counsel, counsel must
 indicate the following in their Joint 26(£) Report: 1) whether the case is best suited for mediation with a
 neutral from the Court Mediation Panel or private mediation; and 2) when the mediation should
 occur. See Civil L.R. 26-l(c).

         At the initial scheduling conference, counsel should be fully prepared to discuss their preference
 for referral to the Court Mediation Panel or to private mediation and when the mediation should
 occur. The Court will enter an Order/Referral to ADR at or around the time of the scheduling
 conference.


                                                                    Clerk, U. S. District Court


                  March 14; 2014                                    By     Nancy Boehme
                      Date                                               Deputy Clerk


 ADR-08 (05/l3)                      NO'f[CE TO PARTIES OF COURT-DIRECTED ADR PROGRAM
Case 2:14-cv-01953-DMG-RZ Document 1 Filed 03/14/14 Page 34 of 34 Page ID #:39




                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                     NOTICE TO PARTIES! COURT POLICY ON SETTLEMENT
                    AND USE OF ALTERNATIVE DISPUTE RESOLUTION (ADR)
                   Counsel are required to furnish and discuss this Notice with their clients.

        Despite the efforts of the courts to achieve a fair, timely and just outcome in all cases, litigation
 has become an often lengthy and expensive process. For this reason, it is this Court's policy to
 encourage parties to attempt to settle their disputes, whenever possible, through alternative dispute
 resolution (ADR).

        ADR can reduce both the time it takes to resolve a case and the costs oflitigation, which can be
 substantial. ADR options include mediation, arbitration (binding or non-binding), neutral evaluation
 (NE), conciliation, mini-trial and fact-finding. ADR can be either Court-directed or privately
 conducted.

        The Court's ADR Program offers mediation through a panel of qualified and impartial attorneys
 who will encourage the fair, speedy and economic resolution of civil actions. Panel Mediators each
 have at least ten years of legal experience and are appointed by the Court. They volunteer their
 preparation time and the frrst three hours of a mediation session. This is a cost-effective way for parties
 to explore potential avenues of resolution.

         This Court requires that counsel discuss with their clients the ADR options available and
  instructs them to come prepared to discuss the parties' choice of ADR option (settlement conference
  before a magistrate judge; Court Mediation Panel; private mediation) at the initial scheduling
  conference. Counsel are also required to indicate the client's choice of ADR option in advance of that
  conference. See Civil L.R. 26-l(c) and Fed.R.Civ.P. 26(f).

         Clients and their counsel should carefully consider the anticipated expense of litigation, the
  uncertainties as to outcome, the time it will take to get to trial, the time an appeal will take if a decision
  is appealed, the burdens on a client's time, and the costs and expenses of litigation in relation to the
  amounts or stakes involved.

           With more than 15,000 civil cases filed in the District in 2012, less than 1 percent actually went
  to trial. Most cases are settled between the parties; voluntarily dismissed; resolved through Court-
  directed or other forms of ADR; or dismissed by the Court as. lacking in merit or for other reasons
  provided by law.

        For more information about the Court's ADR Program, the Mediation Panel, and the profiles of
  mediators, visit the Court website, www.cacd.uscourts.gov, under "ADR."




 ADR-08 (05/13)                   NOTICE TO PARTIES OF COURT-DIRECTED ADR PROGRAM
